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UNITED STATES DISTRICT COURT Z0ISSEP jo put).
FOR THE SOUTHERN DISTRICT OF OHIO, _~ “
WESTERN DIVISION AT DAYTON

 

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UNITED STATES OF AMERICA, : No. 3: G er i i Ola

Plaintiff, :  .wpotetmenc THOMASM.ROSE

Vv. : 18

 

U.S.C. § 666 (a) (1) (B)
: 18 U.S.C. § 1001 (a) (2)
ROSHAWN WINBURN, : 18 U.S.C. § 1343
: 18 U.S.C. § 1346
Defendant. : 18 U.S... § 2
The Grand Jury charges:
COUNTS ONE THROUGH THREE
[18 U.S.C. 8§ 1343 & 1346]
Ess INTRODUCTION
At all times relevant to this Indictment:
il... The City of Dayton was a local political subdivision

of the State of Ohio that receives annually millions of dollars
in funding from the United States. More precisely, the City of
Dayton received in excess of $10,000 in federal assistance from
the United States between July 31, 2015 and July 30, 2016. It
again received in excess of $10,000 in federal assistance from
the United States between July 31, 2016 and July 30, 2017.

Dn A commission comprised of five members (hereinafter

“the City Commission”) governed the City of Dayton with the

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assistance of a city manager who oversaw the day-to-day
operations of this municipality. In turn, various subdivisions
within the government of the City of Dayton reported to the city
manager, including an entity known as the Human Relations
Council or HRC (hereinafter “HRC”).

Bhs Based on publicly available information:

a. The HRC, among other things: “provide[d] business
and technical assistance to minority-owned, woman-owned and
small disadvantaged businesses.” As part of this process, the
HRC “administer[ed] programs aimed at increasing the
competitiveness of minority-owned, women-owned, and small
disadvantaged businesses including [certain] certification
programs.” These HRC led or administered certification programs
included: the Procurement Enhancement Program (“PEP”); the State
of Ohio Disadvantaged Business Enterprise (“DBE”); the State of
Ohio Minority Business Enterprise (“MBE”); and the State of Ohio
Encouraging Diversity, Growth, and Equity (“EDGE”). Upon
obtaining one or more of these certifications, a business or
individual became eligible to bid on, or otherwise participate
in, certain contracts with the City of Dayton and other

government entities.

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Bs Given its role in administering these
certification processes, the HRC and its employees also helped
identify and select qualified bidders for a significant portion
of contracts that the City of Dayton awarded to private
individuals and businesses. For instance, the HRC and its
employees assured that bidders satisfied certain requirements,
including, not limited to, certification status - imposed upon
many contracts with the City of Dayton. Additionally, once a
bidder received a contract from the City of Dayton, HRC and its
employees monitored the bidder’s adherence with certain aspects
of the agreement and could cause other subdivisions within the

municipality to excuse or otherwise mitigate a bidder's non-

compliance issues.

4, Defendant ROSHAWN WINBURN, an employee of the City of
Dayton, held various positions within the HRC, including, but
not limited to, Director of the Minority Business Assistance
Center (“MBAC”). Through his position as Director of MBAC,
defendant ROSHAWN WINBURN exerted control over the process by
which businesses and individuals obtained certifications under
the various programs described above. Given his role at the
HRC, defendant ROSHAWN WINBURN also had access to certain

confidential, non-public information from the City of Dayton

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concerning, among other things, forthcoming demolition projects,
anticipated requests for proposal, and other materials
concerning planned development and construction projects
Within the city. Additionally, as Director of MBAC, defendant
ROSHAWN WINBURN had the ability to influence to whom the City of
Dayton awarded contracts and to cause other subdivisions within
the municipality to excuse instances in which a business or
individual failed to comply with certain aspects of their
agreements with the municipality.
Ii. THE SCHEME TO DEFRAUD AND ITS EXECUTION

S Between a beginning date unknown, but at least by in
or around September 2014, and continuing through in or around
September 2017, in the Southern District of Ohio, defendant
ROSHAWN WINBURN devised and intended to devise a scheme and
artifice to defraud and deprive the City of Dayton and its
citizens of their right to the honest and faithful services of
its public officials and employees through bribery and the
concealment of material facts and information.

6. Defendant ROSHAWN WINBURN devised this fraudulent

scheme to operate, and the fraudulent scheme did operate, as

follows:

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a. Defendant ROSHAWN WINBURN secretly used his
official position as a public employee to solicit and accept
bribes - namely, gifts, payments, and other things of value -
from private individuals and companies seeking to do business
with, or having other matter pending before, the City of Dayton.
In exchange for soliciting, seeking, and accepting these bribes,
defendant ROSHAWN WINBURN agreed to take, actually took, and
caused to be taken favorable official action from the City of
Dayton on behalf of the individuals or companies that paid the
bribe to defendant ROSHAWN WINBURN.

b. More precisely, through his position with the
HRC, including his role as Director of MBAC, defendant ROSHAWN
WINBURN solicited and accepted cash payments totaling in excess
of $20,000 for his own personal benefit. Without the knowledge
or consent of his public employer, defendant ROSHAWN WINBURN
solicited and accepted this money from individuals and companies
seeking to do business with, or having other matters pending
before, the City of Dayton.

@. In exchange for these cash payments, defendant
ROSHAWN WINBURN agreed to take, actually took, and caused to be
taken favorable official action from the City of Dayton on

behalf of the individuals or companies that paid these cash

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bribes to defendant ROSHAWN WINBURN. These official actions
included, but were not limited to:

(1) Without performing full and complete checks
concerning the qualifications of an individual or entity to
obtain status as an MBE, PEP or DBE, defendant ROSHAWN WINBURN
improperly provided these certifications to individuals or
entities that paid him bribes;

(2) Defendant ROSHAWN WINBURN improperly
disclosed confidential, non-public information from the City of
Dayton concerning, among other things, forthcoming demolition
projects, anticipated requests for proposal, and other materials
concerning planned development and construction projects
within the city. In providing these internal, confidential
materials to individuals or companies that paid him bribes,
defendant ROSHAWN WINBURN intended to provide these individuals
or companies with an unfair competitive advantage over other

potential bidders on those government contracts or projects.

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(3) Defendant ROSHAWN WINBURN exerted influence
and pressure on other employees of the City of Dayton to excuse,
forgive or take less severe action in the event that an
individual or business that had paid him a bribe failed to
comply with the terms or a condition of contract with the City
of Dayton.

d. Defendant ROSHAWN WINBURN failed to disclose to
the City of Dayton and its citizens his improper relationship
with the individuals or companies making illegal personal cash
payments to him. Defendant ROSHAWN WINBURN, in fact, engaged in
steps to hide, conceal, and cover up his activities and the
nature and scope of his dealings with the individuals or
companies making illegal personal cash payments to him.

III. THE WIRES

Vie On or about the dates listed below, in the Southern
District of Ohio, and elsewhere, defendant ROSHAWN WINBURN, for
the purpose of carrying out the above-described scheme to
defraud the City of Dayton and its citizens, caused the
transmission of the following writings, signs, and Signals, by

means of wire communication in interstate commerce:

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COUNT DATE INTERSTATE WIRE
ONE 10/7/2014 Interstate e-mail from defendant

ROSHAWN WINBURN to an individual
located in the Southern District
of Ohio

 

TWO 10/6/2016 Interstate e-mail from defendant
ROSHAWN WINBURN to an individual
located in the Southern District
of Ohio

 

THREE 6/22/2017 Interstate e-mail from defendant
ROSHAWN WINBURN to an individual
located in the Southern District
of Ohio

 

 

 

 

All in violation of Title 18, United States Code, Sections

1343, 1346, and 2.

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COUNT FOUR
Bs U.S.C. § 666 (a) (1) (B)]

8. The allegations contained in Paragraphs 1 through 4 of
the Indictment are realleged and incorporated by reference as
though set forth in full.

9. Between on or about July 31, 2015 and on or about
July 30, 2016, in the District of Southern District of Ohio,
defendant ROSHAWN WINBURN corruptly solicited, demanded,
accepted and agreed to accept a thing of value during that one
year period -- namely, United States currency totaling in excess
of $5,000 -- from a person, intending to be influenced and
rewarded in connection with a transaction and series of
transactions of the City of Dayton involving $5,000 or more -
namely, City of Dayton contracts worth hundreds of thousands of
dollars.

In violation of Title 18, United States Code, Section

666 (a) (1) (B).

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COUNT FIVE
[18 U.S.C. § 666 (a) (1) (B)]

10. The allegations contained in Paragraphs 1 through 4 of
the Indictment are realleged and incorporated by reference as
though set forth in full.

11. Between on or about July 31, 2016 and on or about July
30, 2017, in the District of Southern District of Ohio,
defendant ROSHAWN WINBURN corruptly solicited, demanded,
accepted and agreed to accept a thing of value during that one
year period -- namely, United States currency totaling in excess
of $5,000 -- from a person, intending to be influenced and
rewarded in connection with a transaction and series of
transactions of the City of Dayton involving $5,000 or more —
namely, City of Dayton contracts worth hundreds of thousands of

dollars.

In violation of Title 18, United States Code, Section

666 (a) (1) (B).

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COUNT SIX
[18 U.S.C. § 1001 (a) (2)]

12. On or about August 6, 2015, in the Southern District
of Ohio, in a matter within the jurisdiction of the Department
of Justice, a department and agency of the executive branch of
the United States, defendant ROSHAWN WINBURN willfully and
knowingly made, and caused to be made, a materially false,
fictitious, and fraudulent statement and representation
concerning the steps that he performed to Qualify an applicant
identified herein by the initials K.J. as qualified for PEP and
other certifications with the City of Dayton and State of Ohio.

13. More precisely, in response to questions from a
special agent and a task force officer of the Federal Bureau of
Investigation, defendant ROSHAWN WINBURN stated that he
personally conducted a site inspection of K.J’s business in
determining K.J.‘s eligibility for PEP and other certifications

with the City of Dayton and State of Ohio.

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14. At the time that defendant ROSHAWN WINBURN made this
above referenced statement and representation, he knew that it
was false in that, he never performed a site inspection of K.J's
business in contravention of City of Dayton policies.

In violation of Title 18, United States Code, Section

1001 (a) (2).

A TRUE BILL

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BENJAMIN C. GLASSMAN
United States Attorney

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BRENT G. TABACCHI
Assistant United States Attorney

 

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